Case 2:02-cV-02095-.]DB-tmp Document 148 Filed 08/10/05 Page 1 of 2 Page|D 184

Fu.ED er Ag

_....,..._..._._

UNITED STA TES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 05 AUG l0 PH I= 5|
WESTERN DIVISION TH@MAS M wm

CLER'r\'., U F`

`l"‘.',"U U§' \.

AMBULATORYCARE CENTER, LLC, .]UDGMENT IN A CIVIL CASE

An Indiana Limited Liability Company,

EVANSVILLE SURVEY GROUP, INC.,

An Indiana Corporation,

and PHILLIP STIVER, M.D., on behalf

of himself and all others similarly situated,

    
 

\

 

Plaintiffs,
V.

UIBERALL, LEIB, BLOCKMAN AND CASE NO: 2:02-2095-B
PERRY, P.C., a Tennessee Professional
Corporation,

Defen dant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO OR])ERED AND ADJUDGED that in accordance With the Stipulation Of Dismissal
entered on August 9, 2005, this cause is hereby dismissed With prejudice.

 

 

.n NIEL BREEN \
dig!`inn STATES DIsTRICT CoURT

f T
law w O» w
Date Clerk of Court
. nga
m C@m@\\a w
o en we do°"<et€?eji 0 ’
3 kal FF`OP 0“ (By) Deputy Clerk

 

 

UNITED STATES DISTRIC= COURT- WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 148 in
case 2:02-CV-02095 Was distributed by faX, mail, or direct printing on
August 10, 2005 to the parties listed.

 

 

Martin H. Aussenberg

LAW OFFICES OF MARTIN H. AUSSENBERG, P.C.
2157 Madison Ave.

Ste. 203

i\/lemphis7 TN 38104

R. Douglas Hanson

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

i\/lemphis7 TN 38103

Richard Glassman

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

